357 F.2d 190
    UNITED STATES of America, Appellee,v.Marvin Leroy FREEMAN, Appellant.
    No. 222.
    Docket 29460.
    United States Court of Appeals Second Circuit.
    Argued January 27, 1966.
    Decided February 7, 1966.
    
      Gerald M. Gallivan, Asst. U. S. Atty., for Western District of New York (John T. Curtin, U. S. Atty., on the brief), for appellee.
      Michael Hertzberg, New York City (Anthony M. Marra, New York City, on the brief), for appellant.
      Before FRIENDLY and HAYS, Circuit Judges, and BLUMENFELD, District Judge.*
      PER CURIAM:
    
    
      1
      Appellant's attorney conceded at oral argument that appellant had transported Esther "Billie" Hawkins from Pittsburgh, Pennsylvania to Buffalo, New York, and that shortly after she arrived in Buffalo Miss Hawkins engaged in acts of prostitution, the proceeds of which were shared with appellant. The sole question raised on appeal is whether there was substantial evidence presented to the jury to support a finding that appellant possessed the requisite intent, at the time that he transported Miss Hawkins.
    
    
      2
      Miss Hawkins testified that she had previously "worked for the defendant." After appellant transported her to Buffalo, the former relationship was resumed. Freeman was in the car with Esther Hawkins when she solicited a Buffalo detective.
    
    
      3
      We hold that there was sufficient evidence to sustain the jury's finding.
    
    
      4
      Affirmed.
    
    
      
        Notes:
      
      
        *
         Of the District Court for Connecticut, sitting by designation
      
    
    